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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA              :

             vs                       :       CASE NO. 3:23-CR-127

THOMAS TROTTA                         :       (JUDGE MANNION)

TYPE OF CASE: CRIMINAL

                                SCHEDULING NOTICE

      TAKE NOTICE that a proceeding in this case has been SCHEDULED for the

time and place listed below:

PLACE: UNITED STATES DISTRICT COURT                COURTROOM: 3
      WILLIAM J. NEALON FEDERAL BLDG. &
       UNITED STATES COURTHOUSE
       235 N. WASHINGTON AVE.
       SCRANTON, PA 18501                          DATE AND TIME:
                                                   Wednesday, July 5, 2023
                                                   at 10:30 a.m.

TYPE OF PROCEEDINGS:           PLEA HEARING


DATE: June 16, 2023

                                                   PETER J. WELSH, CLERK

                                                   s/ G. Gebhardt
                                                   Gina Gebhardt


TO: HON. MALACHY E. MANNION, US DISTRICT JUDGE
   JAMES BUCHANAN, ESQUIRE, AUSA
    JOSEPH R. D'ANDREA, ESQUIRE
    U.S. PROBATION
    U.S. MARSHAL
    CT. REPORTER
